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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
TIMOTHY C. HARRY and KAREN C.             )
HARRY,                                    )
                                          )                  Civil Action No.
            Plaintiffs,                   )                  16-10895-FDS
                                          )
            v.                            )
                                          )
AMERICAN BROKERS CONDUIT, et al.,         )
                                          )
            Defendants.                   )
__________________________________________)


                                 ORDER TO SHOW CAUSE

SAYLOR, J.

        On June 13, 2016, plaintiffs moved to enter default judgment against American Brokers

Conduit and Apex Mortgage Services on the ground that they had failed to appear, plead, or

otherwise defend within the time allowed. Notices of default were issued and mailed to those

defendants on June 28, 2016. However, the notices were returned as undeliverable on July 6,

2016.

        On July 8, 2016, plaintiffs moved for entries of default judgment against those same

defendants. However, it is not clear from the record that service upon those defendants was

proper under Fed. R. Civ. P. 4(e). Because default judgment cannot be entered where there has

not been proper service, plaintiffs’ motions for default judgment are DENIED without prejudice.

If plaintiffs wish to continue to seek default judgments against these defendants, they are hereby

ORDERED to show cause in writing within 21 days—that is, on or before January 12, 2017—
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why service upon the Massachusetts Secretary of State was proper under Rule 4(e) as to

defendants American Brokers Conduit and Apex Mortgage Services.


So Ordered.

                                                   /s/ F. Dennis Saylor
                                                   F. Dennis Saylor IV
Dated: December 22, 2016                           United States District Judge




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